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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


Brock Fredin,
                                                     Civil No. 19-cv-2864 (SRN/HB)
                      Plaintiff,

v.

James Street, Patrick C. Diamond,                       ORDER ON REPORT
and Lindsey Middlecamp,                               AND RECOMMENDATION

                      Defendants.


       The above-entitled matter came before the Court upon the Report and

Recommendation of the United States Magistrate Judge. No objections have been filed

to the Report and Recommendation in the time period permitted.

       Based upon the Report and Recommendation of the Magistrate Judge, and all the

files, records and proceedings herein,

       IT IS HEREBY ORDERED that:

       1.       The Report and Recommendation is ADOPTED; and
       2.       Plaintiff Brock Fredin’s Second Motion for Temporary Restraining Order
                and Preliminary Injunction [Doc. No. 35] is DENIED as to Defendant
                Lindsey Middlecamp.



Dated: May 4, 2020                        s/Susan Richard Nelson
                                          SUSAN RICHARD NELSON
                                          United States District Judge
